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  IT IS ORDERED as set forth below:



   Date: July 20, 2020
                                                       _________________________________

                                                                  Sage M. Sigler
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                      CHAPTER 11
 FAITH APOSTOLIC DELIVERANCE
 CHURCH, INC.,                                        CASE NO. 20-63879-sms

          Debtor.

                                ORDER CONFIRMING PLAN

       The above-captioned bankruptcy case came before the Court for hearing on July 15, 2020

at 10:30 a.m. (the “Confirmation Hearing”) to consider confirmation of the Plan.

       On May 27, 2020, Faith Apostolic Deliverance Church, Inc. (“Debtor”) filed its “Plan of

Reorganization” (Doc. No. 29) (the “Plan of Reorganization”). The Plan of Reorganization

was modified on July 9, 2020 pursuant to the “Modification to Plan of Reorganization” (Doc.

No. 38). (The Plan of Reorganization as modified is referred to herein as the “Plan”).
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         On June 1, 2020, the Court entered an “Order and Notice of Assignment of Hearing on

Confirmation of Plan” (Doc. No. 31) (“Solicitation Order”).

         At the Confirmation Hearing, Cameron M. McCord appeared on behalf of Debtor. Phillip

Floyd was present on behalf of the Debtor. Tamara Ogier appeared as the Subchapter V Trustee.

Shawna Staton appeared on behalf of the United States Trustee. Ron C. Bingham, II appeared on

behalf of First Citizens Bank & Trust Company. No party appeared in opposition to the Plan. No

objections to the Plan were filed by the Objection Deadline (as established by the Solicitation

Order) or raised at the Confirmation Hearing. Two amendments were made to the Class 1

treatment of First Citizens: (i) The monthly payment amount of $2,562.10 will begin on September

1, 2020 and such payments will not be applied to the Reduced Payoff, and (ii) To the extent that

Debtor has not satisfied the First Citizens Secured Claim by payment of the Reduced Payoff, on the

1st day of the 18th month following the Effective Date, the First Citizens Secured Claim will be due

in its entirety.

         The Court has taken judicial notice of the entire record in this case including all proofs of

claim.

         The Court has considered the entire record at the Confirmation Hearing including but not

limited to the Plan, Ballot Report, argument of counsel and the evidence proffered at the

Confirmation Hearing. Accordingly, the Court has determined:

         (a)       The Debtor timely and properly: (i) filed the Plan (ii) solicited the Plan; and (iii)

provided due notice of the Confirmation Hearing to Holders of Claims against Debtor and parties

in interest, all in compliance with the Bankruptcy Code, Local Rules and Solicitation Order;

         (b)       The Debtor filed the Ballot Certification and Summary of the Voting on Debtor’s

Plan (“Ballot Report”) (Doc. No. 41) describing the results of voting with respect to the Plan;



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        (c)    The notice provided regarding the Confirmation Hearing and opportunity for any

party in interest to object to confirmation of the Plan have been adequate and appropriate and no

further notice was required;

        (f)    The legal and factual bases set forth at the Confirmation Hearing and in the entire

record in this Case establish just cause for the relief granted at the Confirmation Hearing.

       (g)     After due deliberation and good and sufficient cause appearing therefor, and based

upon the Court’s acceptance of the unopposed evidentiary proffer of testimony and evidence made

at the Confirmation Hearing, and further based upon the entire record in this case, the Plan should

be confirmed, and further based upon the following determinations by the Court:

       1.      The Court has jurisdiction over this Chapter 11 Case and confirmation of the Plan

pursuant to 28 U.S.C. § 1334. Confirmation of the Plan is a core proceeding pursuant to 28 U.S.C.

§157(b)(2)(A), (L), and (O). The Court has jurisdiction to enter a Final Order with respect thereto.

Debtor is eligible to be a debtor under § 109 of the Bankruptcy Code and eligible to proceed under

Subchapter V of Title 11 under §§ 101(51D) and 1182. Venue is proper before the Court pursuant

to 28 U.S.C. §§ 1408 and 1409.

       2.      Following entry of the Solicitation Order, in compliance with the Bankruptcy Code

and the Bankruptcy Rules, as evidenced by Certificate of Service (Doc. No. 32), Debtor effectuated

filing and service on all Creditors, Holders of Claims and parties in interest of the Solicitation

Order containing notice of the Confirmation Hearing and relevant deadlines and a ballot for voting

on the Plan (collectively the “Solicitation Materials”).

       3.      As described in the Solicitation Order and Certificate of Service (a) service of the

Solicitation Materials was adequate and sufficient under the circumstances and (b) adequate and

sufficient notice of the Confirmation Hearing and other requirements, deadlines, hearings and


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matters described in the Solicitation Order: (i) was timely and properly provided; and (ii) provided

due process and opportunity to appear and be heard to all parties in interest. Because the foregoing

transmittals, notice and service were adequate and sufficient, no other or further notice is necessary

or shall be required.

          4.     Debtor and Debtor’s respective agents, representatives, attorneys, and advisors

have solicited votes on the Plan in good faith and in compliance with applicable provisions of the

Bankruptcy Code and are entitled to the protections afforded by § 1125(e) of the Bankruptcy Code.

          5.     Debtor, as proponent of the Plan, has met its burden of proving the elements of

section 1191(a) of the Bankruptcy Code and established, upon the unopposed proffer of evidence

and the Court’s judicial notice of all pleadings filed in this case (including proofs of claim), that

Debtor’s Plan satisfies the requirements of § 1191(a) of the Bankruptcy Code.

          6.     As evidenced by the Ballot Report and submissions at the Confirmation Hearing,

all impaired classes of claims, determined without including any acceptance by an insider of

Debtor, voted to accept the Plan. Specifically, the following classes voted to accept the Plan: the

Secured Claim of First Citizens Bank & Trust Company (Class 1).

          7.     The Plan’s provisions are appropriate and consistent with the applicable provisions

of the Bankruptcy Code, including without limitation the treatment of priority claims and secured

claims.

          Accordingly, it is hereby

          ORDERED that the foregoing determinations including those enumerated in Paragraphs

1 through 7 above are hereby incorporated into this Confirmation Order as if fully set forth herein.

It is further




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        ORDERED that the Plan is confirmed pursuant to 11 U.S.C. § 1191(a). All provisions of

the Plan shall bind Debtor, entities receiving property under the Plan, and creditors whether or not

the claims of such creditors are impaired under the Plan and whether or not such creditors have

accepted the Plan. It is further

        ORDERED that, notwithstanding anything in the Plan or in this Confirmation Order,

governmental units, as defined in 11 U.S.C. § 101(27), shall have 180 days from the date this case

was filed (March 3, 2020) to file a proof of claim as set forth in the Notice of Chapter 11

Bankruptcy Case issued in this case (Doc. No. 6). It is further

        ORDERED that Tamara M. Ogier shall be discharged from her obligations and duties as

the Subchapter V Trustee in this case pursuant to § 1183(c)(1) and Section 5.2 of the Plan upon

the filling by the Debtor of a notice of substantial consummation of the Plan as required under

§ 1183(c)(2). It is further

        ORDERED that all persons are permanently enjoined from commencing or continuing

any action, employing any process, or acting to collect, offset, or recover any claim or cause of

action that such person may have had at the date of the filing of Debtor’s Chapter 11 petition

against Debtor or its property except as provided for in the Plan. It is further

         ORDERED that Debtor is granted a discharge pursuant to section 1141(d) of the

Bankruptcy Code, and without limitation, except as otherwise specifically provided in this

Confirmation Order, the distributions and rights that are provided in the Plan shall be in complete

satisfaction and release of: (1) all claims and causes of action whether known or unknown, (2)

liabilities of, (3) liens on, (4) obligations of, or (5) rights against Debtor, its assets or its Estate that

arose prior to the entry of this Confirmation Order.

                                             [End of Order]


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 No Opposition By:

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